Case 2:14-cv-00384-JRG-RSP Document 2 Filed 04/23/14 Page 1 of 3 PageID #: 75



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


                            STANDING ORDER FOR CIVIL
                      ACTIONS ASSIGNED TO JUDGE ROY S. PAYNE


     Pursuant to 28 U.S.C. §636 and the Local Rules of Court for the Assignment of Duties to

United States Magistrate Judges, it is ORDERED:

                                       CASES REFERRED

   1. Forty percent (40%) of selected civil actions filed in the Marshall Division of the Eastern

District of Texas after the effective date of this order and assigned to United States District Judge

Rodney Gilstrap (“Judge Gilstrap”) are referred to United States Magistrate Judge Roy S. Payne

(“Judge Payne”).

                                  PRETRIAL PROCEEDINGS

   2. Judge Payne shall handle all pretrial proceedings in cases referred under paragraph 1.

This shall include:

       a. hear and determine all matters within the magistrate judge’s dispositive jurisdiction;

       b. proceed in accordance with 28 U.S.C. § 636(b)(1)(B) and (C) concerning matters

           excepted from magistrate judge’s dispositive jurisdiction under 28 U.S.C. §

           636(b)(1)(A); and

       c. after approval of the final pretrial order, the magistrate judge shall issue a report to the

           district judge indicating that the case is ready for trial and that all the parties have not

           consented to his jurisdiction.

       Upon receipt of this report, the referral under paragraph 1 shall be withdrawn, and the case

shall be returned to Judge Gilstrap for all further proceedings and entry of judgment.
Case 2:14-cv-00384-JRG-RSP Document 2 Filed 04/23/14 Page 2 of 3 PageID #: 76



                                            CONSENT

    3. Upon receipt of signed consent forms by all parties, the case shall be reassigned to Judge

Payne, who shall conduct all proceedings, including jury and non-jury trials, and order the entry of

judgment.

                                    REFERRAL PROCEDURE

    4. Cases referred to Judge Payne under this order shall be selected randomly.

    5. The clerk shall administer the random referrals and case assignments to Judge Payne

according to procedure devised by the clerk and approved in advance by the undersigned.

    6. Every case referral shall be free from actual or potential influence or manipulation by any

litigant, counsel, member of the public, or unauthorized member of the court staff. The clerk shall

secure case assignment records and paraphernalia utilized in making random referrals and

assignments to ensure the unauthorized members of the court’s staff, attorneys, litigants, and

members of the public may not ascertain the name of the judicial officer(s) previously selected

from the random case referral and assignment arrays; the name of the next judicial officer in the

arrays; or the name(s) of any remaining judicial officer(s) in the arrays.

    7. In the event of recusal or other disqualification of the magistrate judge in a case referred

and assigned under this order, the case shall return automatically to the docket of Judge Gilstrap,

subject to further orders of this court.

    8. Case referrals pursuant to paragraph 1, case reassignments under paragraph 3, and

withdrawals of referrals under paragraphs 2 and 7 shall be effected automatically under this order.

Absent special circumstances, case-specific orders of reference, reassignment, and withdrawal

shall not be entered.

    9. This order does not affect General Orders 05-4, 05-5, 05-6, 05-7, and 05-8 or other
Case 2:14-cv-00384-JRG-RSP Document 2 Filed 04/23/14 Page 3 of 3 PageID #: 77



established procedures for reference to magistrate judge of special category cases (e.g.,
    .
preliminary motions to proceed in forma pauperis and for appointment of counsel in Title VII

cases, prisoner cases, matters on the miscellaneous docket, etc.).

    10. Nothing herein shall preclude reference of additional matters to the magistrate judge or

the withdrawal of references in cases subject to this order whenever appropriate.

         This order is effective immediately, in accordance with the undersigned’s directive to the

clerk.
      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 3rd day of February, 2012.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
